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                          IN THE UNITED STATES DISTRICT COURT FOR
                           THE WESTERN DISTRICT OF PENNSYLVANIA

  IN THE MATTER OF THE APPLICATION
  OF THE UNITED STATES OF AMERICA
  FOR THE SEARCH OF:

  RAYTHEON AIRCRAFT, COMPANY MODEL:                         Magistrate No. 20-2138
  HAWKER 800XP, SERIAL NUMBER: 258452                       [UNDER SEAL]
  1999, AIRCRAFT TAIL#N356EJ




        AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANTS

                 I, Eric Harpster, Task Force Officer of the Drug Enforcement Administration

(“DEA”), United States Department of Justice, being duly sworn, state as follows:

   I.         AFFIANT BACKGROUND

        1.       I am a Special Agent with the DEA and, acting as such, I am a “federal law

enforcement officer” within the meaning of Fed. R. Crim. P. 41(a)(2)(C), that is, a government

agent engaged in enforcing the criminal laws and duly authorized by the United States Attorney

General to request a search warrant.

        2.       I am also a detective with the City of Pittsburgh Police Department in addition to

being a TFO with the DEA. I have been a law enforcement officer for the past 20 years.

        3.       I have been involved in narcotics-related arrests and the service of search warrants

that resulted in the seizure of narcotics. In addition, I have been involved in the supervision of

informants who provided information and assistance in drug trafficking investigations. During

the course of my training and experience, I have become familiar with the methods associated

with the distribution of drugs, the laundering of drug proceeds, and the organization of drug

conspiracies.



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       4.       Through these investigations, my training and experience, and conversations with

other agents and law enforcement personnel, I have become familiar with the methods used by

organized criminal enterprises, drug trafficking organizations, and street gangs to smuggle and

safeguard controlled substances and firearms, to distribute, manufacture, and transport controlled

substances, and to collect and launder related proceeds.

       5.       Through my training, knowledge, and prior experience in drug trafficking

investigations and arrests, I am familiar with the actions, traits, habits, and terminology utilized by

drug traffickers. I am familiar with the ways in which narcotics traffickers conduct their business,

including methods of importing and distributing narcotics, money laundering, the use of cellular

telephones and the internet to facilitate their illegal acts, and the use of numerical codes and code

words to conduct drug transactions. Based on this familiarization, I know the following:

                a.     Drug trafficking is an ongoing and recurring criminal activity.              As

contrasted with crimes against persons, which tend to be discrete offenses, drug trafficking is an

illicit commercial activity that is characterized by regular, repeated criminal activity;

                b.     Drug traffickers and members of the organization arm themselves and their

organization with firearms and ammunition to protect their drug trafficking activities; additionally,

it is common for drug dealers to conceal contraband, firearms, and proceeds of drug sales in secure

locations within their residences, vehicles and/or business for ready access;

                c.     Drug traffickers use airplanes to move quantities of drugs and currency to

other locations for storage and further distribution and use. Within an airplane, drug traffickers

will often store quantities of drugs and currencies within luggage or other storage containers to

avoid detection by law enforcement;




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               d.      Drug traffickers use uninhabitable locations (for example, vacant dwellings,

storage lockers, garages, etc.), often under another person’s name, as “stash locations” for the

storage of drugs and currency, as well as to process and package drugs for distribution. Your

affiant also knows that houses and/or apartments within neighborhoods are often utilized as stash

houses;

               e.      Drug traffickers often maintain financial records and financial instruments

related to their drug transactions and the profits derived from those transactions including, but not

limited to, currency, bank checks, cashier’s checks, Western Union receipts, money orders, stocks,

bonds, jewelry, precious metals, and bank and real estate records. Drug traffickers also frequently

maintain books, records and other documents that identify and contain the names, addresses and/or

telephone or pager numbers of associates in their drug-trafficking or money-laundering activities,

including, but not limited to: address books, telephone books, and notes reflecting telephone

numbers, and documents or other records relating to state court proceedings involving other co-

conspirators. It is common for drug traffickers to conceal such items in secure locations within

their residences, vehicles and/or business for ready access;

               f.      Drug traffickers commonly take or cause to be taken photographs and

videos of themselves, their associates, their property and/or assets, and their drugs.         They

commonly maintain identification and travel documents, including, but not limited to, tickets,

transportation schedules, passports, notes and receipts related to travel, luggage tags, and

motel/hotel receipts. It is common for drug traffickers to conceal such items in secure locations

within their residences, vehicles and/or business for ready access.

               g.      Individuals who traffic in drugs and/or commit money laundering offenses

often use computers, including cellular devices, to maintain records of their assets, expenditures,



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liabilities, properties, bank/brokerage accounts, safe deposit boxes, storage units, inventories,

financial transactions, identification of associates, and even references to other illegal activities.

               h.      Your Affiant is aware through both training as well as experience gained

through multiple narcotics investigations, the targets of those narcotics investigations utilize

cellular telephones and electronic devices to not only arrange meetings with their drug customers

but also speak with fellow co-conspirators as well as their drug sources of supply. Your Affiant

is also aware that these targets also utilize multiple cellular telephones and electronic devices at

one time in an effort to not only thwart detection by law enforcement but also to compartmentalize

their drug trafficking customers to one phone and/or electronic device, their co-conspirators to

another phone and/or electronic device, and their drug source of supply to yet another phone and/or

electronic device.

               i.      Based upon my training and experience, I am aware that it is generally a

common practice for drug traffickers to store the names and phone numbers of drug customers and

photographs and video detailing illegal activities in cellular telephones and electronic devices.

Because drug traffickers in many instances will “front” (that is, sell on consignment) controlled

substances to their clients, and/or will be “fronted” controlled substances from their suppliers, such

record-keeping is necessary to keep track of amounts paid and owed, and such records will also be

maintained close at hand so as to readily ascertain current balances. Often drug traffickers keep

“pay and owe” records to show balances due for drugs sold in the past (“pay”) and for payments

expected (“owe”) as to the trafficker’s supplier(s) and the trafficker’s dealer(s). Additionally, drug

traffickers must maintain telephone and address listings of clients and suppliers and keep them

immediately available in order to efficiently conduct their drug trafficking business.




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                j.     Members of Drug Trafficking Organizations (DTO) often take group

photographs with other enterprise members posing with paraphernalia, money and/or drugs. Many

cellular telephones have a camera feature that is readily capable of capturing and storing these

group photos.

                k.     Members of DTOs often store each other’s phone numbers and contact

information in the directories of their cellular phones and/or electronic devices.

                l.     Based on my experience and familiarity with cellular telephones, I am

aware that the telephones have voicemail and telephone directory features, as well as camera

features which allow the user to take photographs and store them in the cellular phone’s memory

card. Based on my experience and training, statements by other law enforcement officers, and

personal observations, I know that because of the storage capacity of cellular telephones, the

portability of cellular telephones, the ease with which information stored on a cellular telephone

may be accessed and/or organized, and the need for frequent communication in arranging narcotics

transactions, cellular telephones are frequently used by individuals involved in drug trafficking.

In particular, I and other law enforcement officers have found that information frequently

maintained on cellular telephones includes the contact numbers of other co-conspirators, contact

numbers for narcotics customers and stored photographs of DTO activities. This evidence will

come in the form of caller identification information, call log information, telephone numbers,

address information, or other identification information, as well as opened and unopened voicemail

and/or text messages, photographs, videos and information about access to the Internet.

                m.     Members of DTOs routinely use multiple physical phones in succession as

one breaks or the DTO feels that the number associated with the phone is compromised to Law

Enforcement. The physical phone may no longer be an active communicative device, however



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many times, these old phones are not discarded as they possess value to the DTO. The replaced

device contains within it the contact information for drug customers of the DTO, and many times

these phones are maintained as digital phone books should the new active phone become unusable

or unavailable. Furthermore, these replaced phones are commonly kept in a relatively accessible

location where either all or select members of the DTO can access the information within should

it become necessary. As stated above, members of DTOs routinely take photographs and or

memorialize other information of evidentiary value within these replaced phones. As such, it is

common to recover a multitude of otherwise inactive phones especially at locations central to or

important to the DTO.

               n.       Individuals who traffic in drugs and/or commit money-laundering offenses

often place assets in corporations or businesses in order to avoid detection of these assets by

government agencies.

               o.       Individuals who traffic in drugs and/or commit money laundering offenses

often place their illegally obtained assets in "straw names" (the names of other individuals) in order

to avoid detection of these assets by government agencies. Even though these assets are in the

names of other individuals, the money launderers continue to use these assets and exercise

dominion and control over them.

               p.       Individuals who traffic in drugs and/or commit money-laundering offenses

must keep on hand large amounts of United States currency in order to maintain and finance their

ongoing business.

               q.       Individuals who traffic in drugs and/or commit money laundering offenses

often maintain books, records, receipts, notes, ledgers, airline tickets, money orders, and other

papers relating to the ordering, sale, and distribution of their product where they can have ready



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access to them. This record keeping also extends to cellular devices and other electronic mediums

where drug traffickers will create and maintain records of criminal activity.

                r.       Individuals who traffic in drugs and/or commit money laundering offenses

conceal in their residences or place of business large amounts of currency, financial instruments,

precious metals, jewelry, and other items of value and/or proceeds of the trafficking and/or

laundering transactions, and evidence of financial transactions relating to obtaining, transferring,

secreting, or the spending of large sums of cash derived from engaging in drug trafficking and/or

laundering activities.

                s.       When traffickers and/or money launderers amass large proceeds from their

activities, they attempt to legitimize these proceeds. To accomplish this goal, money launderers

utilize domestic banks and their attendant services, securities, cashier’s checks, money drafts,

letters of credit, brokerage houses, real estate, shell corporations and business fronts.

                t.       The Currency Transaction Report (CTR) Internal Revenue Service (IRS)

Form 4789, which is required to be completed and filed with the IRS by all financial institutions

or places of business, on every currency transaction which exceeds $10,000.00 (unless the

transaction is exempt), causes tremendous problems for drug traffickers when they attempt to

negotiate their illegal profits at a financial institution or place of business.

                u.       In order to evade the filing of a CTR, drug traffickers often "structure" their

currency transactions so that no single transaction exceeds $10,000.00, or they provide false or

misleading information in an attempt to legitimize or conceal their ownership of the currency, or

they conspire with money launderers to make the transaction appear as a financed purchase.

                v.       Individuals who traffic in drugs and/or commit money laundering offenses

usually maintain addresses or telephone numbers in books or papers, which reflect names,



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addresses, and/or telephone numbers of their associates. These records are needed to keep track

of persons involved in financial transactions, especially with regard to cash purchases.

                w.      Individuals who traffic in drugs and/or commit money laundering offenses

often use computers, including cellular devices, to maintain records of their assets, expenditures,

liabilities, properties, bank/brokerage accounts, safe deposit boxes, storage units, inventories,

financial transactions, identification of associates, and even references to other illegal activities.

                x.      Individuals who traffic drugs and/or commit money-laundering offenses

often have in their residences or places of business, firearms and other dangerous weapons. These

weapons are used to protect and secure property, which may include, but is not limited to, jewelry,

books, records, United States currency, real estate property, personal property, etc.

                y.      I also know that drug traffickers may use residences other than their own in

order to conceal or distance themselves from illegal activity.

       6.       I am participating in an investigation into the possible trafficking of illegal narcotics

on an airplane across state lines in violation of Title 21, United States Code, Sections 841, 843,

and 846 in the Western District of Pennsylvania (Allegheny County) and elsewhere. As set forth

below, there is probable cause to conclude that evidence of the above stated offenses will be found

in the locations and vehicles more fully outlined below.

       7.       I have personally participated in this investigation, and have also discussed this case

with, and reviewed the reports of, other law enforcement officers who have been involved in this

investigation or who have investigated members of this organization in the past. This Affidavit

does not contain all of the information known to me regarding this investigation. I have included

in this Affidavit only the facts which I believe are sufficient to support a probable cause finding

for the issuance of the requested search warrants.



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   II.          SEARCH LOCATIONS SOUGHT WITHIN THIS AFFIDAVIT

          8.       Your Affiant is seeking a search warrant for the following locations: A

RAYTHEON AIRCRAFT, COMPANY MODEL: HAWKER 800XP, SERIAL NUMBER:

258452 1999, AIRCRAFT TAIL#N356EJ (“TARGET LOCATION”), which is currently

located at Pittsburgh International Airport for the items listed in ATTACHMENT B.

   III.         PROBABLE CAUSE

          9.       On October 22, 2020, your affiant received information that a private airplane

carrying narcotics was traveling from Houston, Texas to Pittsburgh, Pennsylvania.

          10.      Investigators obtained information that a private airplane that departed Houston,

Texas was scheduled to arrive in Pittsburgh, Pennsylvania at approximately 9:30PM. Investigators

also obtained information that allowed investigators to identify the airplane.

          11.      Investigators set up surveillance at the airport, and the airplane landed at Pittsburgh

International Airport just after 10:00PM on October 22, 2020.

          12.      Allegheny County Police Officer Steve Dawkins and other accompanying officers

approached the airplane soon after it landed. Officers spoke with the pilot and obtained written

consent to search the plane. At that point, officers determined that the passengers on the plane had

baggage in their possession. The passengers also admitted to smoking marijuana in the presence

of their bags prior to departing Houston, Texas on the airplane.

          13.      After receiving consent from the pilot, Officer Dawkins brought K9 Officer Solo

on to the airplane. K9 Officer Solo is qualified to detect marijuana, heroin, cocaine, ecstasy, and

methamphetamine. K9 Officer Solo has been qualified for the last seven years and is certified on

a yearly basis, with his certification expiring in January of 2021 as shown in Attachment C. K9

Officer Solo alerted on an area where two bags were located in the back of the passenger



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compartment of the airplane and a second area where two bags were located in the front of the

passenger compartment of the airplane.

        14.     Officer Dawkins is aware that K9 Officer Solo was indicating the presence of one

of the illegal substances that he is qualified to detect.

                WHEREFORE, given the above, your Affiant respectfully requests that the Court

issue an order authorizing warrants allowing for searches of the above-referenced locations.

        All of the above information is true and correct to the best of my knowledge, information

and belief.

                                                            /s/ Eric Harpster_________
                                                            Eric Harpster
                                                            Task Force Officer
                                                            Drug Enforcement Administration


Sworn and subscribed before me, by telephone
pursuant to Fed. R. Crim. P. 4.1(b)(2)(A),
this 23rd day of October, 2020




________________________________
HONORABLE PATRICIA L. DODGE
United States Magistrate Judge
Western District of Pennsylvania




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